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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                 Cr. No. 22-1936-2 KG

JESUS DAVID NUNEZ-MONREAL,

       Defendant.

          ORDER REGARDING SENTENCING MOTIONS AND PROCEEDINGS

       This matter comes before the Court sua sponte with respect to objections to the

Presentence Report (PSR), motions for departure or variance, and any other sentencing

memoranda the parties may wish to file.

       In accordance with D.N.M.LR Crim. 32.C, any objections to the PSR and any motion for

departure or variance must be filed within twenty-one (21) days from the date on which the PSR

is disclosed. Any response to the objection or motion must be filed within seven (7) calendar

dates from the date on which the objection or motion is filed. Any additional materials for

consideration, including sentencing memorandum, shall be filed within thirty-five (35) days from

the date on which the PSR is disclosed.

       Extensions will not be granted absent a showing of good cause by written motion.

       IT IS SO ORDERED.


                                                    ____________________________________
                                                    UNITED STATES DISTRICT JUDGE
